[1] This appeal is from the identical judgment involved in the case of McKim v. Imperial Irrigation *Page 769 District et al., ante, p. 110 [255 P. 506], and is submitted upon the transcript and briefs filed in said case. The facts material to this appeal are set forth fully in the decision just referred to, and reference to the same will suffice here. The judgment appealed from having been reversed in the companion case, further consideration of it upon this appeal becomes unnecessary and the questions presented by appellant herein become moot.
Accordingly, this appeal is dismissed.
Curtis, J., Preston, J., Richards, J., Waste, C.J., and Seawell, J., concurred.
Shenk, J., being disqualified, did not participate herein.